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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------- X

GW HOLDINGS GROUP, LLC, a New York                   Case No. 18-cv-4997-JFK
Limited Liability Company,

                               Plaintiff,                     [PROPOSED]
                                                           DEFAULT JUDGMENT
                 - against -

CRUZANI, INC., f/k/a US HIGHLAND, INC.,
a Nevada Corporation,

                  Defendant.
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       This matter having been commenced on June 5, 2018, by the filing of a Complaint, and

subsequent Amended Complaint on December 30, 2019, the Court finds as follows:

       1.        A copy of the Complaint was served on Defendant Cruzani, Inc. f/k/a US

Highland, Inc.

       2.        On September 29, 2020, Defendant’s former counsel filed a motion to withdraw

as counsel [ECF Nos. 59, 60, 61].

       3.        On October 23, 2020, the Court issued an Order (the “September 29, 2020

Order”) which granted Defendant’s former counsel’s motion to withdraw, and stayed this matter

for 30 Days. [ECF No. 77].

       4.        Defendant failed to appear by Counsel at a Court ordered conference on

November 10, 2020.

       5.        The Court having received the motion papers in support of this motion, and

sufficient proof of damages having been set forth by GW Holdings Group, LLC.
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       THEREFORE, it is ORDERED, ADJUDGED, AND DECREED: That the Court enter

judgment in favor of Plaintiff and against Defendant for the amount of $200,079.74 in damages

on the First Note and the Second Note, plus per diem default interest after May 25, 2018 through

entry of judgment at the rate of 24% at the per diem amount of $62.55 on the First Note in the

amount of___________________and the per diem amount of $44.84 on the Second Note in the

amount of_________________________, as well as per diem default interest after June 1, 2018

through entry of judgment at the rate of 24% at the per diem amount of $44.84 in the amount

of________________pursuant to the cross-default provision in the Second Note, and that, in

accordance with Section 4 of the Notes, Plaintiff shall have the option to convert the First Note

and the Second Note into shares of stock of Defendant up until the amount of damages awarded

under the First Note and the Second Note in accordance with the terms of the First Note and the

Second Note, and attorneys’ fees in the amount of $_______________ and that Plaintiff shall

have execution therefore.

Dated: New York, New York
       ____________, 2021

                                             ENTER:

                                             ________________________________
                                             HONORABLE JOHN F. KEENAN
                                             UNITED STATES DISTRICT JUDGE
